                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           EASTERN DIVISION
                          No. 2:21-CV-00034-JG

Lillie Brown Clark,                      )
as the Administrator                     )
of the Estate of Andrew Brown, Jr.,      )
                                         )
                   Plaintiff,            )
                                         ) PLAINTIFF’S MEMORANDUM IN
                                         ) SUPPORT OF HER MOTION FOR
                                         ) LEAVE TO FILE SUPPLEMENTAL
                                         )    MATERIALS REGARDING
                                         ) APPROVAL OF THE SETTLEMENT
                                         ) AS TO THE MINORS’ PROCEEDS
                                         )    UNDER THE SETTLEMENT
                                         )         UNDER SEAL
v.                                       )
                                         )
                                         )
                                         )
                                         )
                                         )
Daniel Meads, et al.,                    )
                                         )
                   Defendants.           )
                                         )

      COMES NOW Plaintiff, by and through her undersigned counsel of record,

and hereby respectfully files this Memorandum in Support of her Motion for Leave

to File Supplemental Materials Regarding Approval of the Settlement as to the

Minors’ Proceeds Under the Settlement.      The Plaintiff shows the Court the

following:




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                               Argument and Citation

      Minors, because they are legally incompetent to transact business or give

consent for most purposes, need responsible, accountable adults to handle property

or benefits to which they are or become entitled. N.C. Gen. Stat. § 35A-1201(a)(6).

Moreover, where minors are entitled to receive damages pursuant to the settlement

of an action, such settlement must be approved by the Court, even though the minors

are not parties to the action. See N.C. Gen. Stat. § 28A-13-3(23). The Plaintiff,

Administrator for the Estate of Andrew Brown, Jr., has bound the minor

children/beneficiaries of the Estate herein in the same manner as if such minor had

consented to the settlement as an adult. Traditionally, the Federal District Courts in

the Western District of North Carolina, have approved motions to approve settlement

and the parties' settlement and release agreement under seal. See Garlock v. Am.

Gen. Life Ins. Co.,1:17-cv-00264-MR-DLH (W.D.N.C. Jul. 27, 2018); Chambers v.

Mega Mfg., Inc.,1:13-CV-232-MR-DLH (W.D.N.C. Aug. 5, 2015). The

supplemental materials regarding approval of the settlement as to the minors’

settlement proceeds under the settlement provisionally filed under seal at this,

contains the following:


   1. Declaration of the guardian ad litem appointed for purposes of the settlement

      as to the minors stating her position with regard to the settlement;

   2. Declaration by the minors’ mother;

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   3. The proposed annuity company’s detailed structured settlement information

      that includes the minors’ names, ages, dates of birth, and future distribution

      dates.

   4. Detailed information on proposed trust company that will maintain the trust

      account on the behalf of the minors.


      WHEREFORE, the Plaintiff respectfully requests that the Court enter an

order to seal the supplemental materials regarding approval of the settlement as to

the minors’ settlement proceeds under the settlement.



   This 19th day of July 2022.

                                             /s/ Harry M. Daniels
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Special Appearance of counsel for Plaintiff in the above-captioned
matter, in accordance with Local Civil Rule 83.1(d).


                                             /s/ Chantel Cherry-Lassiter
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Special Appearance of counsel for Plaintiff in the above-captioned
matter, in accordance with Local Civil Rule 83.1(d).




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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 19, 2022, I electronically filed the foregoing

Memorandum in Support of her Motion for Leave to File Supplemental Materials

Regarding Approval of the Settlement as to the Minors’ Proceeds Under the

Settlement with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following CM/ECF participants:


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